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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Western District
                                                   __________         of of
                                                               District  New  York
                                                                            __________
                         Scott Mercier
                                                                    )
                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )       Civil Action No.    19-cv-6452
                         Paychex, Inc.                              )
                                                                    )
                            Defendant
                                                                    )


                                                   SUMMONS IN A CIVIL ACTION
                                         PAYCHEX, INC.
To: (Defendant’s name and address) 911 Panorama Trail South
                                         Rochester, NY 14625

                                         Serve:      C T Corporation System
                                                     28 Liberty St.
                                                     New York, NY 10005


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Benjamin L. Davis, Esq.
                                         The Law Offices of Peter T. Nicholl
                                         36 South Charles Street, Suite 1700
                                         Baltimore, Maryland 21201



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:       6/24/2019
                                                                                         Signature of Clerk or Deputy Clerk
